       Case 19-14142            Doc 14        Filed 01/15/20             Entered 01/15/20 14:07:29            Desc   Page 1
                                                                       of 1
                                              UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MASSACHUSETTS

IN REocf3,.-,"..,     Co J) /,         YJ                                   Chaptec 13 #   19- lcj I '-/2- FJ.l:3
                                       MOTION OF CHAPTER 13 TRUSTEE TO DISMISS

Now comes Carolyn Bankowski, Chapter 13 Trustee, and files this Motion to Dismiss the above-referenced case and as grounds
therefor, states as follows:

~        1. Debtor failed to appear at the §341 meeting of creditors.

~       2. Debtor has failed to make the first plan payment as required by II U.S.C §1326(a)(I).

( )     3. Debtor is over the debt limits as set forth in I 1 U. S.C. §I 09( e)

( )     4. Debtor has failed to provide the following documents:
        ( ) INSURANCE BINDER                                     ( ) EVIDENCE OF PROPERTY VALUE
        ( ) EVIDENCE OF CURRENT INCOME                           ( ) RECORDED HOMESTEAD I DEED
        ( ) MOST RECENT TAX RETURN                               ( ) 60 DAYS OF PAY ADVICES
        ( ) INDEPENDENT EVIDENCE OF SOCIAL SECURITY NUMBER

        () AMENDEDSCHEDULES ___________________________________________________


        ( ) OTHER ---------------------------------------------------------



( )      5. Debtor has failed to provide business documents pursuant to MLBR Appendix I: 13-2(a)(2) as follows:




( )      6. OTHER: -----------------------------------------------------------



Notice is hereby given that any responses and/or objections to this motion are to be filed within twenty-one (21) days of the date this
motion is filed with the Court. If no timely objections/responses are filed, the Court may act upon this motion without further notice
or hearing as provided by II U.S.C. §I02(I)(B).

WHEREFORE, the Trustee respectfully requests this Court to enter an Order dismissing this case.

                                                                                    RespectfuiJy submitted,

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                                                                                    Carolyn k Bankowski, BB0#63I 056
                                                                                    Patricia A. Remer, BB0#639594
                                                                                    P.O. Box 8250
                                                                                    Boston, MA 02II4-0033
                                                                                    (6I7) 723-13I3
                                                                                    13trustee@ch I3 boston.com

                                                      CERTIFICATE OF SERVICE

The undersigned hereby certifies that I have served a copy of the foregoing to the above referenced debtor(s) ( ) by hand delivery or
9'J by first class mail, and to Debtor(s)' counsel h c.J...., .,...-o/ {ia tfi, .t. b, £'"?,.
                                                           1      O<                                             M   by hand delivery,
( ) by first class mail, or ~via electronic notice.

Dated _l__(     tL I z..-o 2,-0                                                   ~ ~ fN!VV <[;, ~
                                                                                    Carolyn A. Bankowski
                                                                                    Patricia A. Remer
